               9:21-cr-00853-CRI                               Date Filed 12/16/21              Entry Number 19        Page 1 of 2




AO 98 ( Rev. 12/11) Appearance Bond




                                       UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                          District of South Carolina

                    United States of America                                             )
                             V.                                                          )
                                                                                         )     Case No. 9:2 l-cr-853
               Edwin Carl Hamilton                                                       )
                                      --   -   ----··-····--··--   --------···------~~
                              Defendant                                                  )


                                                                           APPEARANCE BOND

                                                                           Defendant's Agreement
I,       ~dwin Carl IIamilton                              .... (defe11dan1J, agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if l fail:
             ( X )       to appear for court proceedings;
             ( X )        if convicted, to surrender to serve a sentence that the court may impose; or
             ( X )       to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                                 Type of Bond
      ) ( 1) This is a personal recognizance bond.

(~ ) (2) This is an unsecured bond of$ ~~=)~D~+-l\'=J~"=-~0=·-----~

      ) (3) This is a secured bond of$                                                             , secured by:

               ) (a) $ _________ , in cash deposited with the court.

         (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                  (descrihl' the cash or other property, including claims on ii - such as a lien, mortgage, or loan - and atlach proof of
                  ownership and value):



                   If this bond is secured by real property, documents to protect the secured interest may be filed of record.

         (     ) (c) a bail bond with a solvent surety (atlach a copy of the bail bond, or describe it and identijj• the surety):




                                                                      Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The corni may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
               9:21-cr-00853-CRI           Date Filed 12/16/21           Entry Number 19               Page 2 of 2



                                                                                                                                Page 2

AO 98 (Re, 12,11) Appearance Bond



Release of'the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (I) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                          Declarations

Ownership of the Property. I, the defendant- and each surety- declare under penalty of perjury that:

         (I)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not sell the prope1iy, allow further claims to be made against it, or do anything to reduce its value
                   while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant -- and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)


Date:   December 16, 2021




                                                                           s/Chondra S. White

                                                                  CLERK OF COURT

                                                                           s/Chondra S. White
Date:   December 16, 2021
        -----~
                                                                           Deputy Clerk
                                                                                   Signature of Clerk or Deputy Clerk


Approved.

Date:    December 16, 2021
                                                                                           Judge's signature
